                IN THE DISTRICT COURT OF THE UNITED STATES
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            STATESVILLE DIVISION
                     CRIMINAL DOCKET NO. 5:13CR72-RLV


UNITED STATES OF AMERICA        )
                                )
                                )
           vs.                  )
                                )                        ORDER
                                )
PHILIP BRUCE RAZOR              )
_______________________________ )


      THIS MATTER is before the Court upon motion of the Defendant to continue this

case from the January 6, 2014, criminal term in the Statesville Division. (Doc.#21)

      On December 6, 2013, Co-Defendant, Reginald Lamaris Brown, filed a motion to

continue which was granted by the Court. The Defendant’s Motion is moot in that

Defendant’s case is joined with that of a Defendant whose case has been continued

and no motion to sever has been granted

      IT IS, THEREFORE, ORDERED that Defendant’s Motion to Continue is DENIED.




                                              Signed: December 6, 2013




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